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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                            X

WILLIAM I. KOCH, an individual,

             Plaintiff,
                                                PLAINTIFF'S NOTICE OF
                      vs.                       MOTION FOR ELIMINATION OR
                                                MODIFICATION OF THE
                                                PROTECTIVE ORDER;
ERIC GREENBERG, an individual; ZACHYS           APPLICATION FOR REMOVAL
WINE & LIQUOR STORE, INC., a New York :         OF CONFIDENTIALITY
corporation; and ZACHYS WINE                    DESIGNATIONS
AUCTIONS, INC., a New York corporation.

             Defendants.
                                            07 Civ. 09600 (BSJ)(DCF)
                                            ECF Case




                                            X




                                    IRELL & MANELLA LLP
                                    840 Newport Center Drive, Suite 400
                                    Newport Beach, California 92660-6324
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                                    -and-

                                    MORVILLO, ABRAMOWITZ, GRAND,
                                      IASON, ANELLO & BOHRER, P.C.
                                    565 Fifth Avenue
                                    New York, New York 10017
                                    (212) 856-9600

                                   Attorneys for Plaintiff




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          PLEASE TAKE NOTICE that, upon the Declaration of Bruce A. Wessel and the

exhibits thereto, the Declaration of Adam L. Pollock and the exhibits thereto, the

 "Memorandum of Law in Support of Motion for Elimination or Modification of the

Protective Order; Application for Removal of Confidentiality Designations," and all filed

papers and proceedings herein, Plaintiff William I. Koch will move this Court, before the

Honorable Debra C. Freeman, at the United States Courthouse, 500 Pearl Street, New York,

New York, at a date and time to be determined by the Court, for (1) an order eliminating or

modifying the Confidentiality and Protective Order entered in this action on August 7, 2009

(the "Protective Order"), (2) an order removing the "Confidential Information" or

"Confidential — Attorneys' Eyes Only Information" designation from documents and

deposition testimony that has been so designated by Defendant Eric Greenberg pursuant to

the procedures outlined in the Protective Order, and (3) for such other and further relief as

the Court deems just and proper.

Dated: New York, New York                      IRELL & MANELLA LLP
       November 23, 2010


                                               By:       151 BruceA. Wessel
                                                     Bruce A. Wessel (pro hac vice)
                                                     840 Newport Center Drive, Suite 400
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                                                     Attorneys for Plaintiff
                                                     WILLIAM I. KOCH


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                                         PROOF OF SERVICE

         I am employed in the County of Orange, State of California. I am over the age of 18 and not
a party to the within action. My business address is 840 Newport Center Drive, Suite 400, Newport
Beach, California 92660-6324.
        On November 23, 2010, I served the foregoing documents described as:
 (1) PLAINTIFF'S NOTICE OF MOTION FOR ELIMINATION OR MODIFICATION OF
THE PROTECTIVE ORDER; APPLICATION FOR REMOVAL OF CONFIDENTIALITY
DESIGNATIONS
(2) MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR ELIMINATION OR
MODIFICATION OF THE PROTECTIVE ORDER; APPLICATION FOR REMOVAL OF
CONFIDENTIALITY DESIGNATIONS
(3) DECLARATION OF ADAM L. POLLOCK
(4) DECLARATION OF BRUCE A. WESSEL
on each interested party, as stated on the service list below.

 Arthur J. Shartsis                                          Deborah A. Skakel
 Frank Cialone                                               Savannah Stevenson
 Amy L. Hespenheide                                          DICKSTEIN SHAPIRO LLP
 SHARTSIS FRIESE LLP                                         1633 Broadway
 One Maritime Plaza, 18th Floor                              New York, NY 10019
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 Anthony Paul Coles
 Melinda Waterhouse
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 1251 Avenue of the Americas
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         melinda.waterhouse@dlapiper.com
  [g] (BY MAIL) I placed a true copy of the foregoing document(s) in a sealed envelope
       addressed to each interested party, as stated on the attached service list. I placed each such
       envelope, with postage thereon fully prepaid, for collection and mailing at Irell & Manella
       LLP, Los Angeles, California. I am readily familiar with Irell & Manella LLP's practice for
       collection and processing of correspondence for mailing with the United States Postal
       Service. Under that practice, the correspondence would be deposited in the United States
       Postal Service on that same day in the ordinary course of business.
           (BY ELECTRONIC MAIL) I caused the foregoing document to be served electronically
           by electronically mailing a true and correct copy through Irell & Manella LLP's electronic
           mail system to the e-mail address(es), as stated on the attached service list, and no error was
           reported.
        Executed on November 23, 2010, at Newport Beach, California. I declare under penalty of
perjury under the laws of the United States of America that the foregoing is true and correct.

          Bonnie Blythe (bblythe@irell.com)                                /s/ Bonnie Blythe
                (Type or print name)                                              (Signature)


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